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                          UNITED STATES DISTRICT COURT2O MAR -9 AH 10:36
                           WESTERN DISTRICT OF TEXAS
                                 AUSTIN DIVISION
                                                                                     U
COMMISSION FOR LAWYER DISCIPLINE, §                                                       L.


         Plaintiff,               §
                                                    §
v.                                                  §           CASE # 1:20-C V-0153-RP
                                                    §
BRAND! K STOKES,                                    §
               Defendant.                           §

                         MOTION TO DECLARE ORDERS VOID

       NOW COMES Defendant, Brandi K Stokes, and files this Motion to Declare Orders

Void, and shows the Court the following:

       On or about February 4, 2020, Judge Todd Blomerth set an evidentiary hearing in Travis

County Cause No. D- 1 -GN- 18-000502 without appointing counsel for the Defendant, a protected

person pursuant to the Third Geneva Convention and in violation of Geneva Conventions III, art.

104. This violation of the Geneva Conventions triggered yet another ground for removal to federal

court, and on February 10,2020, the Defendant did remove this case to federal court. On February

12, 2020, Judge Blomerth nonetheless proceeded with the hearing as scheduled and entered an

order in the state proceeding notwithstanding the federal stay provision provided by 28 U.S.C.   §


1446(d). Further, Judge Billy Ray Stubblefield entered an order on the same day without

conducting any hearing and without notice both in violation of the Third Geneva Conventions

and of the federal stay provision provided by 28 U.S.C.   §   1446(d). Both of these judges were

made aware of the federal stay provision prior to these orders being entered. It will be the

Defendant's testimony at any hearing on the matter that Judge Todd Blomerth reacted to the

Defendant's statement in open court regarding the stay by rolling his eyes.



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        Without waiving other grounds for relief or penalties available, the Defendant respectfully

requests that this Court declare these two orders to be void for lack

        Defendant prays that the requested relief be granted.

DATED: March 9, 2020



                                                              &             -' j/2-
                                                     Brandi K Stokes, Defendant
                                                     Texas State Bar No. 24044940
                                                      brandi.stokesgmai1.com +1 512 206 0202

                                     CERTIFICATE OF SERVICE

        I   certify that on March 9, 2020, a true and correct copy of the above was served on

counsel for the Plaintiff through CMRRR at the address listed for Plaintiff.



                                                          4" L1&-
                                                      Brandi K Stokes




'There were additional anomalies at the hearing that could warrant further action by this Court, such as proceeding
with a Motion for Sanctions against the Defendant despite a lack of notice; however, at this juncture, the Defendant
is simply requesting the minimum relief necessary to prevent further harm.
                                                        2
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                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION

COMMISSION FOR LAWYER DISCIPLINE, §
         Plaintiff,               §
                                                     §
v.                                                   §              CASE # 1:20-C V-0153-RP
                                                     §
BRANDI K STOKES,                                     §
                 Defendant.                          §

                     ORDER ON MOTION TO DECLARE ORDERS VOID

         The Court finds that good cause exists to grant the Defendant's Motion to Declare Orders

Void.

         Following the filing of a notice of removal, the state court "shall proceed no further

unless and until the case is remanded." 28 U.S.C.        §   1446(d). The Court finds that the clear

language of the general removal statute provides that the state court loses jurisdiction upon the

filing of the notice of removal. The Court further finds that state District Judges Todd Blomerth

and Billy Ray Stubblefield proceeded with Travis County Cause No. D-1-GN-18-000502 on

February 12, 2020, despite the filing of a notice of removal in state court and that such actions

were improper.

         The Court finds that the orders entered by these state court judges on February 12, 2020,

are     void   for   want   of jurisdiction,   and   those      orders   are   hereby   VACATED.

DATED:




                                                      Judge Presiding

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